Case 1:04-cv-07280-GBD-SN Document 535-6 Filed 04/01/19 Page 1 of 4




            Exhibit 6
     Case 1:04-cv-07280-GBD-SN Document 535-6 Filed 04/01/19 Page 2 of 4
WAMY SA 5643
                   Case 1:04-cv-07280-GBD-SN Document 535-6 Filed 04/01/19 Page 3 of 4
                                   In the Name of Allah Most Gracious                           Confidential: Attorney-Client
                                              Most Merciful                                           Communications


                                                                                       ‫ﺍﻟﻨﺪﻭﺓ ﺍﻟﻌﺎﻟﻤﻴﺔ‬
World Assembly of Muslim Youth
   Member of the UN NGO’s                                                               ‫ﻟﻠﺸﺒﺎﺏ ﺍﻹﺳﻼﻣﻲ‬
                                                                                  ‫ﻏ� ﺍﻟﺤﻜﻮﻣ�ﺔ – ﻫﻴﺌﺔ ﺍﻷﻣﻢ ﺍﻟﻤﺘﺤﺪﺓ‬
                                                                                                                ‫ﻋﻀﻮ ﺍﻟﻤﻨﻈﻤﺎﺕ ﻱ‬


      Ref. No: 1/34006                                                                      ‫ﻣﻜﺘﺐ ﻱ ﻥ‬
                                                                              ‫ﺍﻷﻣﻥ ﺍﻟﻌﺎﻡ ﺍﻟﻤﺴﺎﻋﺪ‬
      Date: 15-05-1433 Hijri                                          The Assistant Secretary-General Office
      Corresponding to: 07-04-2012 A.D.

             To Your Excellency Mr. Aref Abdullah Abdul-Hameed,
             The Manager of the Assembly’s Office in Azerbaijan


             Greetings,
             I hope you are well and in good health.
             We inform you that the General Secretariat aims to set up an informational program about the
             Assembly’s external offices. The program will cover all the financial and administrative subjects,
             the executed projects and programs, evaluating the stakeholders in the office workplace of these
             operations and some up-to-date information of each office of the Assembly’s external offices for
             the period from (01/01/1992 A.D to 31/12/2002 A.D.).
             In order to collect this information, we prepared the attached forms. Therefore, we kindly request
             you to fill in the forms (accurately and carefully) and to send them back to the General
             Secretariat as soon as possible, but no more than two weeks, in order to allow us to include your
             office’s information in the stated program.
             Moreover, we kindly request you to provide us with the statements of the bank account of the
             Assembly’s Office of the same stated period.


             Kind Regards,
             May the peace and blessings of Allah be upon you.


      Assistant Secretary-General of Offices
           and International Relations                                       Stamp: World Assembly of Muslim Youth
                                                                                    General Secretariat / Riyadh
   Dr. Abdul-Hameed Bin Yousuf Al-Mazroo
                                                                               Established in: 1972 A.D. – 1392 Hijri
                [signature]




A copy to the Management Department of Offices and the International Relations.

             WAMY SA 5643
P.O. Box: 10845 Riyadh 11443 – Kingdom of Saudi Arabic                    ‫ – ﺍﻟﻤﻤﻠﻜﺔ ﺍﻟﻌﺮﺑﻴﺔ ﺍﻟﺴﻌﻮﺩﻳﺔ‬11443 ‫ – ﺍﻟﺮﻳﺎﺽ‬10845 :‫ﺏ‬.‫ﺹ‬
Building 1079 King Fahd Road – Muhammadiah Dist.                                   ‫ – ﻁﺮﻳﻖ ﺍﻟﻤﻠﻚ ﻓﻬﺪ – ﺣﻲ ﺍﻟﻤﺤﻤﺪﻳﺔ‬1079 :‫ﺭﻗﻢ ﺍﻟﻤﺒﻨﻰ‬
Tel: (+9661) 2050000 – Fax: (+9661) 2050011                                (+9661) 2050011 :‫( – ﻓﺎﻛﺲ‬+9661) 2050000 :‫ﻫﺎﺗﻒ‬
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                                                                                        Tel: 646 707 0923
                                                                                        Toll free: 888 250 2611
                                                                                        Fax: 914 219 0919
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CERTIFICATE OF ACCT]RACY

STATE of New      York) $
County of New York)



I, Victoria Vaile, Translation Manager for Nova Languages, Inc., being duly swom, hereby certiry that
Mohanned Khallof is a translator affiliated with Nova Languages, Inc., a corporate member of theAmerican
Translators Association, and that he is competent to translate from the Arabic language to the English language
And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowledge and belief.

RE: WAIVTY Letter to Azerbaijan Office I



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Sworn to before me this                                        l/
                                                                Translation Manager
     day of                             of20/f

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                                                                           BARBARA CANTON
                                                                      .,                      JACKSON
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                                                                               NO. 01 cA6203682
                                                                       Qualified in      york County
                                                                    My Commission Y"*.
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       Am erica n Translators Association




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